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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 EVARISTO CAMPO,                                             CIVIL ACTION

        Plaintiff,
                                                             NO. 20-1460-KSM
        v.

 MID-ATLANTIC PACKAGING
 SPECIALTIES, LLC d/b/a MID-
 ATLANTIC PACKAGING,

         Defendant.


                                             ORDER

       AND NOW, this 29th day of September, 2021, upon consideration of Defendant’s Motion

for Summary Judgment (Doc. No. 21), Plaintiff’s response (Doc. No. 22), Defendant’s reply (Doc.

No. 23), Plaintiff’s sur-reply (Doc. No. 24), the oral argument on the motion, and for the reasons

set forth in the accompanying Memorandum, it is hereby ORDERED that the Motion (Doc. No.

21) is GRANTED as to Plaintiff’s wrongful termination and hostile work environment claims and

DENIED with respect to Plaintiff’s failure to accommodate and retaliation claims.

       IT IS FURTHER ORDERED that counsel shall participate in a settlement conference

before Magistrate Judge Marilyn Heffley on October 8, 2021. Within three (3) days of the

settlement conference, the parties shall provide the Court with a status update, after which the

Court will schedule a telephone conference, if appropriate, to discuss scheduling a trial date and

other pretrial matters.

IT IS SO ORDERED.

                                                     /s/KAREN SPENCER MARSTON
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                                                     KAREN SPENCER MARSTON, J.
